              Case 2:20-cv-00813-JLR Document 12 Filed 09/18/20 Page 1 of 3




 1                                                              District Judge James L. Robart
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                         UNITED STATES DISTRICT COURT FOR THE
 8
                           WESTERN DISTRICT OF WASHINGTON
 9                                   AT SEATTLE
10
11
     KATHERINE HONOR RICH,                            Case No. 2:20-cv-813-JLR
12
                                                      BRIEFING SCHEDULE FOR
13                                Plaintiff,
                                                      PLAINTIFF’S FEES AND
                          v.                          COSTS CLAIM
14
     U.S. CITIZENSHIP AND IMMIGRATION
15                                                    Noted for Consideration:
     SERVICES,
16                                                    September 17, 2020
                                  Defendant.
17
18
19         Plaintiff KATHERINE HONOR RICH and Defendant U.S. CITIZENSHIP AND

20 IMMIGRATION SERVICES (“USCIS”) hereby provide the Court with a proposed
21 briefing schedule for Plaintiff’s only remaining claim of attorneys’ fees and costs in lieu
22 of the Joint Status Report and Discovery Plan (“JSR”) ordered by the Court on August
23 14, 2020. Since the Court’s order, the parties agree that all of Plaintiff’s claims except
24 for her claim for fees and costs pursuant to the Freedom of Information Act (“FOIA”)
25 have been resolved. The parties have been unable to resolve this remaining claim. The
26 parties further agree that this claim can be presented to the Court by motion without the
27 need for discovery. Accordingly, in lieu of a JSR, the parties propose the following
28 briefing schedule for Plaintiffs’ motion for attorneys’ fees and costs pursuant to FOIA:


     BRIEFING SCHEDULE 2:20-cv-813-                                  UNITED STATES ATTORNEY
     JLR- 1                                                          700 STEWART STREET, SUITE 5220
                                                                      SEATTLE, WASHINGTON 98101
                                                                             (206) 553-7970
              Case 2:20-cv-00813-JLR Document 12 Filed 09/18/20 Page 2 of 3




 1                               Filing                        Deadline
 2                       Plaintiffs’ motion for            October 16, 2020
 3                     attorneys’ fees and costs

 4                     USCIS’s response to the            November 9, 2020
                              motion
 5
                           Plaintiffs’ reply in          November 13, 2020
 6                       support of the motion
 7
 8
     SO STIPULATED.
 9
10 Dated this 17th day of September, 2020.
11
12                                                s/ Greg McLawsen
                                                  GREG MCLAWSEN, WSBA # 41870
13                                                Sound Immigration
14                                                113 Cherry St. ECM# 45921
                                                  Seattle, WA 98104-2205
15                                                Phone: 855-809-5115
16                                                Email: greg@soundimmigration.com
17                                                Attorneys for Plaintiff
18
19                                                s/ Michelle R. Lambert
                                                  MICHELLE R. LAMBERT, NY # 4666657
20                                                Assistant United States Attorney
21                                                United States Attorney’s Office
                                                  700 Stewart Street, Suite 5220
22                                                Seattle, Washington 98101-1271
23                                                Phone: 206-553-7970
                                                  Fax: 206-553-4067
24                                                Email: michelle.lambert@usdoj.gov
25
                                                  Attorneys for Defendant
26
27
28


     BRIEFING SCHEDULE 2:20-cv-813-                                         UNITED STATES ATTORNEY
     JLR- 2                                                                 700 STEWART STREET, SUITE 5220
                                                                             SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
              Case 2:20-cv-00813-JLR Document 12 Filed 09/18/20 Page 3 of 3




1                                              ORDER

2
           IT IS SO ORDERED.
3
4          Dated this 18th day of September 2020.
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7
                                         A
                                       JAMES L. ROBART
                                       United States District Judge
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     BRIEFING SCHEDULE 2:20-cv-813-                                   UNITED STATES ATTORNEY
     JLR- 3                                                           700 STEWART STREET, SUITE 5220
                                                                       SEATTLE, WASHINGTON 98101
                                                                              (206) 553-7970
